Case 2:03-Cv-02922-.]PI\/|-tmp Document 31 Filed 05/24/05 Page 1 of 2 Page|D 54

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UNITED sTA TES DISTRICT Co UR T g BY 2 h
WESTERN DISTRICT OF TENNESSEg

 

 

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JANICE BOMAR, JUDGMENT IN A CIVIL CASE

VS

WAI_.-MART STORES, INC.,
and 'I`ITAN SECURITY, INC.

and CASE NO: 03-2922 Ml/P
WAL-MART STORES , INC .
VS

TI'I`AN SECURITY, INC .

 

Upcn agreement by the parties:

IT IS SO ORDERED AND ADJUDGED that, in accordance with the Order cf
Dismiseal With Prejudice filed May 533, 2005, this case is
DISMISSED with prejudice.

APPROVED: A
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MJ h
JO PHIPPS MCCALLA
I'I'ED STATES DISTRIC'I` COURT
§ , / HUBERTH.D|TRGLEO

Date Clerk cf Court

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(By? LSepuUQ Clerk 5

    
 

 

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This notice confirms a copy of the document docketed as number 31 in
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ESSEE

 

Clinton J. Simpson

BAKER DONELSON BEARMAN & CALDWELL

20th Floor
165 Madison Avenue
Memphis7 TN 38103

W. Michael Richards

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ

165 Madison Ave.
Ste. 2000
Memphis7 TN 38103

Bruce S. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Elaine Sheng
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Scott A. Kramer
BOROD & KRAMER
80 Monroe Ave.

Ste. G-l

Memphis7 TN 38103

Jeffery S. Glatstein

SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

Memphis7 TN 38103--246

Honorable J on McCalla
US DISTRICT COURT

